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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

Rebecca Gomez                                       Case No.:
32125 St Annes Dr
Warren, MI 48092                                    Judge:

         Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
v.                                                     PRACTICES ACT AND OTHER
                                                           EQUITABLE RELIEF
Encore Receivable Management, Inc
c/o Corporation Service Company,
Registered Agent                                     JURY DEMAND ENDORSED HEREIN
601 Abbott Road
East Lansing, MI 48823

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around October 1, 2008, Defendants employee Danny George (“George”) telephoned

     Plaintiff.




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8. During this communication, George failed to identify Defendant as a debt collector.

9. During this communication, George failed to identify Defendant by name.

10. During this communication, George misrepresented himself as a representative of Macomb

   County.

11. During this communication, George stated that George needed to speak to Plaintiff or

   Plaintiff’s attorney that day.

12. Defendant caused Plaintiff substantial anxiety and stress.

13. Defendant violated the FDCPA.

                                           COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

14. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

15. Defendant violated 15 U.S.C. §1692d in that Defendant failed to meaningfully disclose its

   identity during telephone communications with Plaintiff.

                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. Defendant violated 15 U.S.C. §1692e in that Defendant failed to advise Plaintiff during

   verbal communications that Defendant was a debt collector.

                                         COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

   communications with Plaintiff.




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                                           COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                          JURY DEMAND

22. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

23. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.
                                                Attorneys for Plaintiff

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